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                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                                                                                       December 04, 2019
                                                                                        David J. Bradley, Clerk
                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
VS.                                              § CRIMINAL ACTION NO. 4:19-CR-832
                                                 §
GERALD M GOINES                                  §
                                                 §
            Defendants.                          §

                                             ORDER

       Pending before the Court is the United States Government’s (“the Government”)

motion for revocation of Magistrate Judge Palermo’s order releasing Defendant Gerald

M. Goines (“Goines”). The motion (Dkt. 35) is DENIED. Goines’s motions to lift the

stay on Magistrate Judge Palermo’s order granting bond (Dkt. 33 and Dkt. 34) are

GRANTED.

       I.       BACKGROUND FACTS

       A federal grand jury indicted Goines, a former police officer who worked for the

Houston Police Department (“HPD”) for 34 years, for lying to a Houston municipal judge

to procure a no-knock search warrant; submitting a written tactical plan and offense

report that contained more false statements; and then lying to investigators after a raid

facilitated by the fraudulently procured warrant killed two civilians and injured several

HPD officers (including Goines, who was shot in the face and neck).1 Goines has also


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 Specifically, the grand jury returned an indictment against Goines for two counts of deprivation
of rights under color of law in violation of 18 U.S.C. § 242; two counts of destruction, alteration,
or falsification of records in federal investigations and bankruptcy in violation of 18 U.S.C. §


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been charged by complaint with felony murder in Texas state court for his actions related

to the raid. See case numbers 1643519 and 1643520 in the 228th District Court of Harris

County, Texas. The Texas state court released Goines on a bond of $150,000.

       After a nearly-three-hour evidentiary detention hearing at which six witnesses

testified, Magistrate Judge Palermo took the detention issue under advisement. Four days

later, Magistrate Judge Bryan read Magistrate Judge Palermo’s ruling into the record.

Having considered the evidence, Magistrate Judge Palermo ordered Goines released but

imposed several conditions, including: a $150,000 unsecured bond; an order for Goines

to remain in 24-hour home confinement with GPS monitoring; a prohibition on Goines’s

possessing a firearm, destructive device, or other weapon; a prohibition on Goines’s

obtaining employment as a security guard or a law enforcement officer; a prohibition on

Goines’s selling his home; a prohibition on Goines’s directly or indirectly contacting

witnesses, victims, co-defendants, or confidential informants; a prohibition on Goines’s

keeping or obtaining a passport; and an order for Goines’s wife to serve as a third-party

custodian and inform Pretrial Services if Goines does not comply with his bond

conditions (Dkt. 42). Magistrate Judge Palermo also ordered Goines to comply with all

conditions imposed by the pretrial supervision orders in his related Texas state-court

cases (Dkt. 42). Magistrate Judge Bryan granted the Government’s oral motion to stay

Magistrate Judge Palermo’s release order until the Government could file this written

motion to revoke under 18 U.S.C. § 3145(a)(1).


1519; and three counts of tampering with a witness, victim, or informant in violation of 18
U.S.C. § 1512(c)(2) (Dkt. 1).


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       II.   THE APPLICABLE LEGAL STANDARDS

       18 U.S.C. § 3145 allows the Government to file a motion with the district court to

revoke a magistrate judge’s pretrial release order. 18 U.S.C. § 3145(a)(1). When ruling

on such a motion to revoke, the district court is required to make an independent, de novo

determination of the proper pretrial detention or conditions for release. United States v.

Rueben, 974 F.2d 580, 585–86 (5th Cir. 1992). The district court need not, however,

conduct a second evidentiary hearing in the absence of newly developed evidence not

presented before the magistrate judge. United States v. Farguson, 721 F. Supp. 128, 129

n.1 (N.D. Tex. 1989); see also United States v. Hensler, 18 F.3d 936, 1994 WL 83436, at

*1–2 (5th Cir. 1994), cert. denied, 513 U.S. 859 (1994). In the absence of newly

developed evidence not presented before the magistrate judge, “the district court has the

discretion to conduct its de novo review by examining the pleadings and the evidence

which was developed before the magistrate judge and then adopting the magistrate

judge’s pretrial [release] order.” Hensler, 18 F.3d 936, 1994 WL 83436, at *2.

       Under the Bail Reform Act, a defendant shall be released pending trial unless a

judicial officer determines that no condition or combination of conditions on the

defendant’s release will reasonably assure the appearance of the defendant as required

and the safety of any other person and the community. United States v. Hare, 873 F.2d

796, 798 (5th Cir. 1989); see also 18 U.S.C. § 3142(e)(1). “The judicial officer shall, in

determining whether there are conditions of release that will reasonably assure the

appearance of the person as required and the safety of any other person and the


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community, take into account the available information concerning[:] (1) the nature and

circumstances of the offense charged[;] (2) the weight of the evidence against the person;

(3) the history and characteristics of the person[;]2 and (4) the nature and seriousness of

the danger to any person or the community that would be posed by the person’s release.”

18 U.S.C. § 3142(g). The determination of whether conditions of release can be imposed

that will reasonably assure the appearance of the person as required is made using the

preponderance-of-the-evidence standard, while the determination of whether conditions

of release can be imposed that will reasonably assure the safety of any other person and

the community is made using the clear-and-convincing-evidence standard. United States

v. Fortna, 769 F.2d 243, 250 (5th Cir. 1985).

       III.   THE GOVERNMENT FAILED TO MEET ITS BURDEN.

       Following de novo review of the detention hearing and the record of the

proceedings before Magistrate Judge Palermo and Magistrate Judge Bryan, and having

considered the statutory factors under 18 U.S.C. § 3142(g), the Court finds that the

Government failed under the applicable burden of proof to meet its burden to establish

that no conditions of release will reasonably assure Goines’s appearance as required and

the safety of any other person and the community. Rather, the Court finds, based on the

evidence presented at the detention hearing and the record of the proceedings before

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 The “history and characteristics of the person” include “the person’s character, physical and
mental condition, family ties, employment, financial resources, length of residence in the
community, community ties, past conduct, history relating to drug or alcohol abuse, criminal
history, and record concerning appearance at court proceedings” as well as “whether, at the time
of the current offense or arrest, the person was on probation, on parole, or on other release
pending trial, sentencing, appeal, or completion of sentence for an offense under Federal, State,
or local law[.]” 18 U.S.C. § 3142(g)(3).


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Magistrate Judge Palermo and Magistrate Judge Bryan, that the conditions specified by

Magistrate Judge Palermo are sufficient.

       As Magistrate Judge Palermo noted in a hearing held on November 25, 2019, the

Government presented no evidence that Goines is a flight risk apart from the severity of

Goines’s potential sentence, which alone will not satisfy the Government’s burden.

United States v. Friedman, 837 F.2d 48, 50 (2d Cir. 1988) (“In other cases concerning

risk of flight, we have required more than evidence of the commission of a serious crime

and the fact of a potentially long sentence to support a finding of risk of flight.”).

Moreover, as Magistrate Judge Palermo further noted, the Texas state court released

Goines on bond several months before the Government arrested him, and Goines has

complied with the conditions of the pretrial supervision orders on his Texas state charges.

Cf. United States v. Himler, 797 F.2d 156, 161 (3d Cir. 1986) (“As the government

concedes, the record indicates that the defendant when previously accused of similar

crimes and not detained always appeared in court as required.”). In its motion to revoke

Magistrate Judge Palermo’s order, the Government argues that Goines’s “history of

deceit and lawlessness” tilts the scale in its favor (Dkt. 35 at p. 12). If Goines is indeed

guilty of the crimes for which he has been indicted, he may well be a deceitful person.

But that is a question for a jury and for another day: the purpose of a flight-risk

determination “is not to detain habitual criminals or deceitful persons; it is to secure the

appearance of the accused at trial.” Id. Magistrate Judge Palermo correctly concluded that

the Government presented insufficient evidence showing that no conditions of release

will reasonably assure Goines’s appearance as required.


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       Magistrate Judge Palermo also correctly concluded that the Government presented

insufficient evidence that no conditions of release that could be imposed on Goines will

reasonably assure the safety of any other person and the community. As with its flight-

risk argument, the Government has relied on the nature of Goines’s alleged crimes to

show by clear and convincing evidence that he will pose a continuing danger to the

community if not detained. However, Goines no longer has the powers vested in a police

officer, and the Government presented no other evidence showing that his release on

bond will endanger the community.

       The Government’s motion under 18 U.S.C. § 3145(a)(1) for revocation of

Magistrate Judge Palermo’s order releasing Defendant Gerald M. Goines (Dkt. 35) is

DENIED. Defendant Gerald M. Goines’s motions to lift the stay on Magistrate Judge

Palermo’s order granting bond (Dkt. 33 and Dkt. 34) are GRANTED.

       SIGNED this day 4th day of December, 2019.


                                            ___________________________________
                                            George C. Hanks Jr.
                                            United States District Judge




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